   Case: 1:20-cv-07807 Document #: 61-1 Filed: 07/25/22 Page 1 of 2 PageID #:446                          LA

                          FINN LAIU GROIJP F' X L                                                H fE
                   STORTO
                                   ATTORNBYSATTAIII                                     JUL25znn
                    lOO WEST GREEN STREET-BENSENULLq
                            (630) 860-5s20 -FAX (630) 8-6-0-0014
                                                                 IL 60106
                                                                                      THOMAS G BRUTON
                                                                                                       k
                      wwur.sroirropnn'r.conr      -   sFtAwl@AIM'coM              CLERI(, U.S, DISTRICT COURT


                                                                          TAWRENCEE.FINN
JOSEPIIP. STORTO


                                           July 21,2022

                               -Via Over-Night Fed Ex Delivery-



Clerk of the United States Court, 20th Floor
United States District Court
Northern District of Illinois
219 S. Dearborn Street
Chicago, lL 60604

RE: Marci Marie Webber v. State of Illinois
    Case Number: I :20-cv-07807

Dear Clerk:

Enclosed are my original Notice of Motion and Motion to Withdraw.

Please file and return to me a stamped copies so this will appear on'Judge Norgle's docket.
I have enclosed a self-addressed, stamped envelope for your use in returning the filed/stamped
documents to my office.

Thank you for your assistance in this matter.




     h P/ Storto
     eyht Law

JPS/lss

Enclosures: Notice of Motion
            Motion to Withdraw
cv-07807 Document #: 61-1 Filed: 07/25/22 Page 2 of 2 P




                ft
                rl


                C{
                a
                o
               id

                r!
                a
                rt
                H
                rf
                o




                     tEHU]
                     O OH
                     i@Foo
                      o
                      p. =Ho
                     H. c) id
                     Hil H
                     tso 2
                     ooz
                     e5
                     H(/J>
                            r
                     rrrt=
                        r.i
                     o,o
                     oa     6)
                     Frro F
                     OE
                     O\tsd
